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                               IN THE
                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

UNITED STATES OF AMERICA              )
                                      )            No. 19 CR 567-3
          v.                          )
                                      )            Hon. Harry D. Leinenweber
MILTON BROWN                          )

DEFENDANT BROWNS RESPONSE TO THE GOVERNMENT’S MOTION FOR
     ENTRY OF PROTECTIVE ORDER GOVERNING DISCOVERY

      Defendant MILTON BROWN, by the Federal Defender Program and its

attorney, MARY H. JUDGE, agrees that some protective measures are

appropriate and ought to govern discovery in this case. Defendant’s interest is

in defending himself, as the Constitution allows. He has no interest in the

unfettered or unprotected dissemination of documents describing the sexual

abuse of third parties. Although Defendant does not object to the entry of a

protective order, he does object to the proposed order that the government has

tendered to the parties. The Government’s Proposed Order is problematic

because (A) it is overly broad, (B) it unduly compromises Mr. Brown’s ability to

prepare a defense, and (C) it is inequitable. For these reasons, Defendant asks

that the Court enter the protective order that is attached as Exhibit A to this

Response, as it strikes a fair balance between the needs of the defense and the

protection of third parties.

                                  ARGUMENT

   Protective orders are not entered as a matter of course in criminal or even

civil cases. Under Federal Rule of Criminal Procedure 16(d)(1), the Court “may,


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for good cause, deny, restrict, or defer discovery or inspection, or grant other

appropriate relief” (emphasis added). Mr. Brown agrees that there is good cause

to support the entry of a protective order governing legitimately sensitive

information. He objects, however, to the entry of a blanket protective order that

also covers non-sensitive information. The government has not demonstrated

good cause to establish why a protective order is necessary for all information,

including non-sensitive information, in this case.

   A. The Government’s Proposed Protective Order Is Overly Broad And Is
      Not Supported By Good Cause.

   According to its motion, the government seeks an order because the discovery

includes “sensitive information, whose unrestricted dissemination could

adversely affect law enforcement interests and the privacy interests of third

parties.” [Dkt. 43 at 2]. If the government only sought to restrict this sensitive

third-party information, then there would be no dispute among the parties. To

be sure, Mr. Brown readily agrees that sensitive information exchanged in

discovery should be protected. However, the Government’s Proposed Order goes

far beyond protecting sensitive information. Indeed, the government asks this

Court to restrict defendant’s use of all discovery, regardless of whether it

contains sensitive information. The Government’s Proposed Order is not limited

to the documents containing information concerning the sexual abuse of third

parties. Rather, it encompasses all of the discovery in this case, even discovery

containing no private or sensitive information that merits protection. Even more

broadly, the Government’s Proposed Order also covers “any notes or records of

any kind” that defendants and his counsel make regarding discovery documents.
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Government’s Proposed Order. The government has not demonstrated good

cause to support such a broad request.

   As was appropriately noted by the Third Circuit, “good cause is established

on a showing that disclosure will work a clearly defined and serious injury to the

party seeking closure. The injury must be shown with specificity. Broad

allegations of harm, unsubstantiated by specific examples or articulated

reasoning, do not support a good cause showing.” United States v. Wecht, 484

F.3d 194, 211 (3d Cir. 2007) (internal citations omitted). Moreover, “the burden

of justifying the confidentiality of each and every document sought to be covered

by the protective order remains on the party seeking the order.” Id. (emphasis

added.) In considering a request for a protective order, the court must “balance

the public’s interest in the information against the injuries the disclosure would

cause,” as well as the Defendant’s interest. Id.

   Here, the government’s motion makes no such showing of a specific harm

particular to the facts of this case that would be prevented by the terms of the

proposed order encompassing non-sensitive information. For the showing of

harm to be sufficiently specific, more is required than a bare assertion that

“dissemination could adversely affect law enforcement interests and the privacy

interests of third parties.” Dkt. #18. Importantly, the government’s motion

references sensitive information, but its proposed order was not limited in this

way. If it were, there would not be an objection.

   Courts in this district have already rejected similar requests from the

government for a carte blanche protective order. In United States v.


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Pietrzykowski, No. 12-cr-39-02, Judge St. Eve agreed that the government’s

proposed protective order, which utilized the same language quoted above and

sought to restrict non-sensitive information, was overly broad. Dkt. 72 at 2,

attached as Exhibit B. Similarly, in United States v. Turner, No. 11cr663,

Magistrate Judge Cox denied a portion of the government’s motion because it

was overbroad, concluding: “There simply is no authority for the proposition that

the government may limit the use of discovery materials by the defense under

the Federal Rules of Criminal Procedure without a specific review of the materials

to determine whether the limitations are warranted.” Doc. No. 21, attached

hereto as Exhibit C.

   Mr. Brown’s proposed protective order is also consistent with the model

Confidentiality Order for civil cases in the Northern District of Illinois. Form

LR26.2 narrowly and precisely defines Confidential Information, and puts

restrictions on the use and dissemination of that Confidential Information, as

opposed to all documents in discovery. By limiting the Confidentiality Order’s

restrictions to the documents containing Confidential Information, the order is

more narrowly tailored to balance the parties’ interests. Mr. Brown’s proposed

order replicates this balancing. The government’s blanket protective order is not

consistent with the Model Order.

   In short, the government fails to provide any detailed factual basis for a

protective order in its perfunctory motion that cites no case law whatsoever in

support of its request. Mr. Brown responds that the Court should not enter an

all-encompassing protective order. Rather, the Court’s order should protect only


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the sensitive and private information for which (admittedly) the government has

a particularized need for protection. Mr. Brown’s proposed order, which was

tendered to the government prior to the filing of the government’s contested

motion and is attached as Exhibit A, strikes this fair balance. This proposed

order is consistent with Judge St. Eve’s opinion in the Pietrzykowski case and

the model Confidentiality Order.

   B. The Government’s Proposed Protective Order Unduly Compromises
      Mr. Brown’s Ability to Prepare a Defense.

   Mr. Brown also objects because the Government’s Proposed Order is unduly

burdensome. First, he objects to the provision requiring all notes and records

created by the defense to be treated exactly the same as materials supplied by

the government. Paragraph 5 of the government’s proposed order states:

      “Defendant, defendant's counsel, and authorized persons shall not
      disclose any notes or records of any kind that they make in relation
      to the contents of the materials, other than to authorized persons,
      and all such notes or records are to be treated in the same manner
      as the original materials.”

This proposed provision interferes with the defense’s right to prepare a defense

and counsel’s ability to create work-product. Furthermore, given the overly broad

nature of the order itself, this provision even applies to work-product pertaining

to non-sensitive information.

   C. The Government’s Proposed Protective Order is Inequitable.

   Finally, Mr. Brown objects to the proposed protective order as inequitable.

The government has excluded itself from the restrictions in the proposed order.

The government is free to provide copies of materials and work product to anyone

and for any purpose with no concern for the terms of the proposed order (with
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no requirement, for example, that the government show potential witnesses a

copy of the protective order, a requirement the government seeks to impose upon

defense counsel alone). In turn, the government’s recipients can disseminate the

materials and work product at will. By its own terms then, the proposed order is

unnecessary and wholly lacking in “protection.” Furthermore, subjecting

defendants to a charge of contempt and possible court sanctions for violation of

the proposed order, while not subjecting the government to the same penalties

for abuse of the proposed order in using materials and work product beyond the

scope of the case, is wholly unfair.

   The government’s having excluded itself from the restrictions in the proposed

order demonstrates that the government presumes itself capable of self-policing.

The government will undoubtedly assure this Court that it will disclose materials

and work product only for the purpose of this case. As both parties are capable

of providing the Court with these assurances, the need for the protective order

is negated.

   Defense counsel assure the Court and the government that defense counsel,

defendants, and employees and agents of defense counsel will responsibly

handle all materials disclosed and work product created in this case. This

includes an assurance that defense counsel will, upon request, return discovery

materials mistakenly tendered. Defense counsel make these assurances with the

understanding that she is an officer of the Court.




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                                  CONCLUSION

      Although the defense does not oppose the government’s motion for a

protective order, we do oppose the government’s proposed order as overly broad

and unduly burdensome. Mr. Brown respectfully submits an alternative

protective order that strikes a fair balance between the needs of the defense and

the protection of third parties. For the reasons stated herein, Mr. Brown asks

the Court to enter the proposed protective order attached as Exhibit A to this

Response.


                                      Respectfully submitted,

                                      FEDERAL DEFENDER PROGRAM
                                      John F. Murphy
                                      Executive Director

                               By:    /s/ Mary H. Judge
                                      Mary H. Judge
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                          CERTIFICATE OF SERVICE

       The undersigned, Mary H. Judge, attorney with the Federal Defender
Program hereby certifies that in accordance with FED.R.CRIM. P. 49, FED. R.
CIV. P5, LR5.5, and the General Order on Electronic Case Filing (ECF), the
following document(s):


DEFENDANT BROWNS RESPONSE TO THE GOVERNMENT’S MOTION FOR
     ENTRY OF PROTECTIVE ORDER GOVERNING DISCOVERY


was served pursuant to the district court’s ECF system as to ECF filings, if any,
and were sent by first-class mail/hand delivery on July 24, 2019, to
counsel/parties that are non-ECF filers.



                                      FEDERAL DEFENDER PROGRAM
                                      John F. Murphy
                                      Executive Director


                                      By: s/Mary H. Judge
                                          Mary H. Judge




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